                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

LUIS ANGEL ALVAREZ ROMAN,                             :
                                                      :      CIVIL ACTION NO. 1:23-cv-02348
                               Plaintiff,             :
                                                      :      JUDGE PATRICIA A. GAUGHAN
       v.                                             :
                                                      :
CITY OF LORAIN, OHIO, ET AL.,                         :
                                                      :
                               Defendants.            :


                                STIPULATION OF DISMISSAL

       Plaintiff Luis Angel Alvarez Roman and the County of Lorain Defendants (including its

individual defendants, Phil R. Stammitti, Jacob Bell, Darnell Board, William Newbury, Amon

Willis, Scott Zimmerman, and Stephanie Suter), by and through undersigned counsel and pursuant

to Fed. R. Civ. P. 41(a)(1)(ii), hereby stipulate that this Action be dismissed with prejudice. Each

party bears their own costs.

                                        Respectfully Submitted,

 By:_/s/ David M. Smith                              /s/ Madeline J. Rettig
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                                                   Counsel for Plaintiff




                               CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing was filed with this Court using the CM/ECF
system on February 3, 2025, which will automatically notify all counsel of record.

                                                     By: /s/ Madeline J. Rettig
                                                     Madeline J. Rettig (0098816)




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